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                         Law Offices of Joseph L. Manson III
                                    Joseph L. Manson III, Esq.
                                         600 Cameron St.
                                      Alexandria, VA 22314

August 30, 2021

VIA EMAIL

Jeffrey Sklarz
Green & Sklarz LLC
One Audubon Street, 3rd Floor
New Haven, CT 06511

Re:        Universitas Educ., LLC v. Benistar, Case No. 3:20-cv-738-JAM

Dear Jeff,

As you know, we represent Universitas Education, LLC (“Universitas”) in the above-captioned
matter. We write to you regarding the emails received from Grist Mill Partners, LLC (“GMP”) on
August 23, 2021. There are multiple issues with GMP’s email production that require attention. It
is our hope to resolve all outstanding issues prior to the discovery conference on September 15,
2021.

      I.      GMP Improperly Omitted Emails from Multiple Record Custodians.

GMP did not produce emails from multiple record custodians in accordance with objections to the
record custodians. As explained infra, these objections were improper. Additionally, GMP did not
produce Amanda Rossi’s emails, despite not objecting to her as a record custodian. GMP must
produce emails from all the record custodians identified by Universitas, including Ms. Rossi.

Parties are required to produce documents that they have the “practical ability to obtain … from a
nonparty ….” See Royal Park Invs. SA/NV v. Deutsche Bank Nat'l Tr. Co., No. 14-CV-04394
(AJN) (BCM), 2016 U.S. Dist. LEXIS 133564, at *17-*18 (S.D.N.Y. Sep. 27, 2016) (internal
citations omitted). GMP objected to producing emails in the possession of Benistar Admin
Services, Inc. (“BASI) on the basis that “[at] no time was BASI a record custodian of GMP.” This
objection is improper for a litany of reasons. First, this objection is demonstrably false because
BASI is a record custodian for GMP. BASI owns the computer server on which all GMP emails
are stored. (See Exhibit 1 ¶¶ 4-5;) see also Rosehoff, Ltd. v. Truscott Terrace Holdings LLC, No.
14-CV-277S(F), 2016 U.S. Dist. LEXIS 61777, at *24 n. 7 (W.D.N.Y. May 10, 2016) (defining
“server” as “[a]ny central computer on a network that contains ESI or applications shared by
multiple users of the network on their client computers.”) (internal citations omitted). As such,
BASI is the records custodian for all GMP emails. See Nat’l Jewish Health v. WebMD Health
Servs. Grp., 305 F.R.D. 247, 251, 254-55 (D. Colo. 2014).




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Moreover, GMP already produced emails stored on BASI’s server, and thus clearly has the ability
to produce emails in BASI’s possession. See Royal Park, 2016 U.S. Dist. LEXIS 133564 at *22
(finding that production of discovery from source indicates ability to produce documents from that
source). Furthermore, at a minimum, GMP was required to ask BASI to produce these emails
before objecting to their production. See id. at *22-*23 and *28-*29 (explaining that asking an
affiliate to produce documents within their possession is “the ‘least’ a corporation must do before
asserting that it lacks the necessary practical ability to obtain documents from [an] affiliated non-
party”) (emphasis added). GMP did the opposite – it told BASI that was GMP not requesting that
BASI produce the emails requested by Universitas, and further suggested that BASI object to the
production request. (See Exhibit 2.)

GMP also objected to producing Kathy Kehoe’s emails on the basis that “[at] no time was Kathy
Kehoe a record custodian of GMP.” This objection fails, inter alia, because it pre-supposes a
distinction between GMP and other Carpenter-controlled entities that does not exist. See e.g.,
United States v. Carpenter, 190 F. Supp. 3d 260, 274 (D. Conn. 2016) (“…the evidence shows
that the formal corporate structure of the various Benistar Entities had little meaning for the people
involved.”); Universitas Educ., LLC v. Nova Grp., Inc., No. 11CV1590-LTS-HBP, 2014 U.S. Dist.
LEXIS 3983, at *13 (S.D.N.Y. Jan. 13, 2014) (“The evidence received by this Court concerning
the actions of Mr. Carpenter and his affiliates demonstrates an absence of respect for distinctions
among his business entities ….”).

The Court denied GMP’s motion to dismiss with regard to the alter ego claim and found it plausible
that “GMP is squarely part of Daniel Carpenter’s web of companies that are a ‘single economic
entity,’” in part because courts “have found that Carpenter and his companies consistently
disregard corporate formalities, such as sharing office space, management, computers, and
employees.” (See Dkt. #110 at 17-19 (emphasis added).) As such, the fact that someone within the
Carpenter enterprise is not formally affiliated with any particular entity is not relevant to discovery
on an alter ego claim.

Moreover, the courts have found that Mr. Carpenter operates his “web of companies” as part of a
criminal enterprise that he uses to conceal his personal assets from Universitas and other creditors.1
See Carpenter, 190 F. Supp. 3d 260; see also Universitas Educ., LLC v. Nova Group, Inc., No. 11-
CV-1590-LTS-HBP, 2014 U.S. Dist. LEXIS 109077, at *7-*8 (S.D.N.Y. Aug. 7, 2014)
(explaining that Daniel Carpenter controls hundreds of shell companies that he uses to “hide
assets” from Universitas and other creditors). Ms. Kehoe is a high-ranking member of the
1
 The court explicitly found that Mr. Carpenter’s companies constitute a criminal enterprise in the judgment concerning
Mr. Carpenter’s “criminal conduct as the organizer and leader of the STOLI scheme ….” (See Dkt. #167-3 at 2.) The
judgment indicates that Mr. Carpenter’s sentence included an adjustment for “aggravating role.” (See Dkt. #167-3 at
2.) The “aggravating role” sentencing enhancement is set forth in Section 3B1.1 of the United States Sentencing
Guidelines, and the commentary for this Section indicates that it concerns leadership of a criminal enterprise:
        This section provides a range of adjustments to increase the offense level based upon the size of a
        criminal organization (i.e., the number of participants in the offense) and the degree to which the
        defendant was responsible for committing the offense…. In relatively small criminal enterprises that
        are not otherwise to be considered as extensive in scope or in planning or preparation, the distinction
        between organization and leadership, and that of management or supervision, is of less significance
        than in larger enterprises that tend to have clearly delineated divisions of responsibility.
United States Sentencing Commission, Guidelines Manual, §3B1.1, comment. (backg’d.) (Nov. 2018) (emphasis
added).


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Carpenter criminal enterprise. See e.g., Universitas Educ., LLC v. Avon Capital, LLC, No. 14-FJ-
05-HE, 2020 U.S. Dist. LEXIS 251679 (W.D. Okla. Oct. 20, 2020) (explaining that (1) Ms. Kehoe
is a manager for BASI, (2) Ms. Kehoe is a manager of SDM Holdings, LLC (“SDM”) and (3) a
judgment debtor purchased SDM as part of the Carpenter money laundering conspiracy), adopted
2021 U.S. Dist. LEXIS 26388; see also Carpenter, 190 F. Supp. 3d at 273 (explaining that BASI
is one of the “most significant” entities within the Carpenter criminal enterprise). As such, there is
reason to believe that Ms. Kehoe has emails relevant to the alter ego claim against GMP.

Daniel Carpenter (GMP’s sole principal) has the practical ability to have Ms. Kehoe search and
produce her emails. Therefore, GMP must produce Ms. Kehoe’s emails. See Royal Park, 2016
U.S. Dist. LEXIS 133564 at *17-*18.

   II.      GMP Must Produce a Privilege Log.

As previously stated via email, Universitas insists that GMP produce a privilege log in accordance
with Local Rule 26(e). See D. Conn. L. Civ. R. 26(e). Universitas believes that attorney-client
privilege does not apply to many emails withheld from production on such grounds, but has no
grounds to identify any such emails absent a privilege log.

The courts have already determined that: (1) Daniel Carpenter controls “hundreds” of companies,
(2) Mr. Carpenter’s companies constitute a criminal enterprise, (3) Mr. Carpenter uses his
companies to “hide assets” from Universitas and other creditors, (4) Mr. Carpenter hides assets
from Universitas and other creditors with fraudulent intent, and (5) Mr. Carpenter’s efforts to “hide
assets” constitute fraud upon Universitas and other creditors. (See Dkt. #167-3;) Carpenter, 190
F. Supp. 3d 260; Universitas Educ., 2014 U.S. Dist. LEXIS 109077. Mr. Carpenter continues to
use his companies to hide assets from Universitas so as to hinder and/or delay Universitas’
collection efforts, and thereby defraud Universitas. See Rocklen, Inc. v. Radulesco, 10 Conn. App.
271, 277-78 (1987) (explaining that actions “taken to defeat or hinder [creditors] … from
collecting their debt” constitutes fraud). The Court found that there is reason to believe that GMP
is involved with this ongoing fraud. (See Dkt. #110 at 17-19.)

As such, emails between GMP and its counsel are likely subject to the crime-fraud exception. See
Olson v. Accessory Controls & Equip. Corp., 254 Conn. 145, 171-74 (2000) (explaining that
crime-fraud exception applies when there is probable cause to suspect that communications were
intended to further a crime and/or civil fraud). Attorney-client privilege does not attach to any such
emails. See Evans v. GMC, Case No. X06CV940156090S, 2003 Conn. Super. LEXIS 302, at *6
(Conn. Super. Ct. Feb. 5, 2003) (“The crime-fraud exception removes the privilege from those
attorney-client communications that are related to client communications in furtherance of
contemplated or ongoing criminal or fraudulent conduct.”). Given that (1) Mr. Carpenter is using
the criminal enterprise under his control to continue hiding assets from Universitas and (2) there
is probable cause to believe that GMP is part of Mr. Carpenter’s criminal enterprise, emails
between GMP and its counsel are likely subject to the crime-fraud exception and thus are not
privileged communications. See Olson, 254 Conn. at 175 (explaining that crime-fraud exception
applies to “communications with counsel … intended in some way to facilitate or to conceal the
criminal or fraudulent activity”); Hutchinson v. Farm Family Cas. Ins. Co., 867 A.2d 1, 11 (Conn.
2005) (explaining that crime-fraud exception applies to communications with attorney for the



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purpose of frustrating creditor collection efforts) (citing In re Grand Jury Subpoena Duces Tecum,
731 F.2d 1032, 1041 (2d Cir. 1984)).

Thank you for your attention to these matters. I look forward to your response.

                                                    Sincerely,

                                                    /s/ Joseph L. Manson III
                                                    Joseph L. Manson III
                                                    Law Offices of Joseph L. Manson III
                                                    600 Cameron Street
                                                    Alexandria, VA 22314
                                                    Telephone: 202-674-1450
                                                    Email: jmanson@jmansonlaw.com

                                                    Counsel for Universitas Education, LLC

Cc: Lawrence Grossman




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From:             Dan Carpenter US
To:               Molly Carpenter
Cc:               "Jeffrey Sklarz (jsklarz@gs-lawfirm.com)"; John R Williams; gholmes@odglaw.com
Subject:          Universitas v. GMP - materials for email discovery
Date:             Wednesday, August 4, 2021 7:43:37 AM



Molly:

I think you should run this "overly broad" and "overly burdensome" request by Mike
McPherson. Jeff Sklarz will be objecting, of course, but perhaps it makes sense for Halloran &
Sage to officially object with Magistrate Spector since they represent BASI, and he is now in
charge of the Contempt Motion against me??? I certainly have no right to ask any of these
people to search for anything...much less BASI.

Please remember that we objected to the original requests as "overly burdensome" and now
they have gotten worse. Wayne Bursey died in 2015, Jack Robinson died in 2017, and Matt
Westcott left the firm in 2017??? All of the checks from Exhibit 21 are from 2014 and the
mythical account had to be set up in late 2013 or January 2014.....Right??? Curaleaf was in
the building from June 2014 to January 2020......So I think someone needs to reach out to
Magistrate Spector on this.....other than Dan Carpenter.

Thanks,

Dan


From: Dan Carpenter US <dcarpenter@usbgi.com>
Sent: Wednesday, August 4, 2021 7:19 AM
To: Dan Carpenter US <dcarpenter@usbgi.com>
Subject: Fw: Universitas v. GMP - materials for email discovery




From: Ben Chernow <bchernow@jmansonlaw.com>
Sent: Thursday, July 29, 2021 7:36 PM
To: Jeffrey Sklarz <jsklarz@gs-lawfirm.com>
Cc: Lawrence Grossman <lgrossman@gs-lawfirm.com>; Joseph Manson
<jmanson@jmansonlaw.com>
Subject: Universitas v. GMP - materials for email discovery

                                         CAUTION - EXTERNAL EMAIL
   This email originated from outside of Green & Sklarz. DO NOT click links or open attachments unless you
                              recognize the sender and know the content is safe.
Jeff and Lawrence,
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Pursuant to the discovery order, please find our list of record custodians and search terms for
email production below. We apologize for the delay. We are amenable to a corresponding
extension to the production deadliine should such an extension prove necessary. The search
terms are the same for all custodians.

Search terms:

Grist Mill Partners

GMP

GM Partners

Ensign-Bickford

Ensign

100 Grist Mill

Mill Pond

Curaleaf

Lease

Building

"hidden" or "hide" or "conceal" or "protect" or "secure" or "safe"

Rent

Mortgage

Property

Tenant

Landlord

Universitas
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"creditor" or "crediter"

"judgment debtor" or "judgment debter" or "debtor" or "debter"

Lawsuit

Suit

Litigation

CFG

Carpenter Financial

Caroline

“charging order” or “order”

“restrain” or “notice” or “restraining notice”

Judgment

Moonstone

Seir Hill

Account

Bank

Transfer

Swain

Alter ego

"shell" or "sham"

"own" or "hold" or "held" or "title" and "new" or "different" or "other"
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Records Custodians:

Daniel Carpenter

Molly Carpenter

Kathy Kehoe

Amanda Rossi

Joseph Castagno

Benistar Admin Services, Inc. ("BASI") - we request that BASI search its server for emails that
otherwise have no current custodian. These emails are emails sent and/or received by Wayne
Bursey, Jack Robinson, and/or Matthew Westcott.
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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


         UNIVERSITAS EDUCATION, LLC,        :       CASE NO. 11-1590-LTS-HBP
               Plaintiff


         VS.                                :


         NOVA GROUP, INC., as trustee,
         sponsor and fiduciary of the
         CHARTER OAK TRUST WELFARE
         BENEFIT PLAN,
               Defendant                    :       NOVEMBER 20, 2012




                     VIDEOTAPED DEPOSITION OF AMANDA ROSSI




                              SUSAN K. WHITT, RPR, LSR
                         Licensed Shorthand Reporter No. 1
                              ALLAN REPORTING SERVICE
                                    P.O. Box 914
                             Canton, Connecticut 06019
         Telephone (860) 693-8557               Facsimile (860) 693-1065

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                                                                 [Page 11]
   1             A   Yes.

   2             Q   And where are you employed?

   3             A   Benistar Admin Services.

   4             Q   Benistar Admin Services, Inc.; is that correct?

   5             A   Yes.

   6             Q   Okay.   During the deposition today I may refer

   7     to that as BASI for short.     Is that okay with you?

   8             A   Yes.

   9             Q   Okay.   So you said you're employed by BASI,

 10      correct?

 11              A   Mm-hmm -- yes.

 12              Q   And do you have a position there, or title?

 13              A   Not -- no.   No.   We don't keep titles.

 14              Q   You don't keep titles?

 15              A   No.

 16              Q   How would you -- you know, if you're describing,

 17      talking to a friend, what would you say your role is at

 18      BASI?

 19              A   I do payroll, and I don't really describe it as

 20      a specific role, but I do, like, human resource-type stuff.

 21              Q   So what kind of things?

 22              A   Payroll, 401(k) benefits.     I also handle some of

 23      the office management as far as, like, ordering supplies

 24      and taking care of building maintenance, that kind of

 25      stuff.

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                                                                  [Page 18]
   1           Q     Have you ever been employed in the last five

   2     years as an independent contractor or freelancer?

   3           A     No.

   4           Q     Okay.     You mentioned Grist Mill Capital before.

   5     Do you do work for Grist Mill Capital?

   6           A     Not currently, no, I don't.

   7           Q     When was the last time you did?

   8           A     Possibly writing a check.       That was . . .

   9           Q     Writing a check, when was that?

 10            A     When I wrote Mr. Norris his check.

 11            Q     Okay.     So excluding when you wrote --

 12            A     Yes.

 13            Q     No, no.     That's fine.    Excluding when you paid

 14      Mr. Norris, when was the last time did you something?

 15            A     I don't recall.

 16            Q     When you go to 100 Grist Mill Road -- I haven't

 17      been there; maybe someday -- is there a sign somewhere that

 18      tells you the entities that are located there?

 19            A     I think there is a sign out front, yes.

 20            Q     And how many -- so that would tell a visitor how

 21      many -- you know, what kind of businesses they could find

 22      in there?

 23            A     Mm-hmm.

 24            Q     And how many entities are currently listed?

 25            A     I don't recall.      I haven't looked at it.

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                                                                   [Page 19]
   1           Q       Okay.    And your testimony is that these entities

   2     that you work for, there's no kind of defined office space

   3     for each of them; is that correct?

   4           A       Correct.

   5           Q       Okay.    And how many entities are there or

   6     businesses are there at 100 Grist Mill Road?

   7           A       I don't recall.

   8           Q       Can you guess?

   9           A       No.

 10            Q       Is it more than five?

 11            A       I don't -- I couldn't give you an answer.         I

 12      don't know.

 13            Q       All right.     How many do you know of?

 14            A       I don't know.

 15            Q       You don't know how many entities that you know

 16      of that are at 100 Grist Mill Road?

 17            A       There are -- there's Benistar Admin Services and

 18      USB Group and the ones that we've named, but I don't recall

 19      all of them.

 20            Q       Right.     So have we -- okay.   Withdrawn.    Well,

 21      who would know how many are at 100 Grist Mill Road?

 22            A       I don't know.

 23            Q       Would the owner -- do you know who or what owns

 24      the building at 100 Grist Mill Road?

 25            A       Yes.

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                                                                 [Page 20]
   1            Q   Okay.     And is that a person or an entity?

   2            A   An entity.

   3            Q   And what entity is that?

   4            A   Grist Mill Partners.

   5            Q   Grist Mill Partners?

   6            A   Mm-hmm.

   7            Q   Is that an LLC or a corporation?

   8            A   An LLC -- I believe it's an LLC.

   9            Q   And have you done work for Grist Mill Partners?

 10             A   Yes.

 11             Q   Okay.     But they don't pay you; is that correct?

 12             A   Correct.

 13             Q   So how is it that you come to do work for

 14      companies that don't pay you?

 15             A   I don't know.     It's just asked of me, and I help

 16      out.

 17             Q   Right.     So sometimes you're approached to help

 18      out with companies that are at 100 Grist Mill Road but that

 19      don't actually pay you?

 20             A   Right.

 21             Q   Okay.     And how often does that happen?     Well,

 22      you said you were sorry?

 23             A   Yeah.     I just -- I'm sorry.    I'm just not sure

 24      how this all goes.     So I'm trying to --

 25             Q   Oh, you don't have to apologize.

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                                                                    [Page 21]
   1            A      Okay.

   2            Q      So let's back up.      I'll withdraw whatever I --

   3     well, we'll just restate the question.

   4            A      Okay.

   5            Q      So sometimes you do work for entities that are

   6     at 100 Grist Mill Road but that don't pay you for that

   7     work; is that correct?

   8            A      Correct.     Yes.

   9            Q      And do you know how many entities -- how many

 10      different entities do you do work for that don't actually

 11      pay you?

 12             A      I don't know the number.

 13             Q      And how does it work?       Does someone approach

 14      you?

 15             A      No.     Mr. Carpenter will ask -- well, yes, yes.

 16      He'll ask me to work on certain projects.

 17             Q      Is it only Mr. Carpenter who will approach you

 18      to do these projects?

 19             A      Yes.

 20             Q      So only Mr. Carpenter?

 21             A      Yes.

 22             Q      So not Mr. Bursey?

 23             A      No.

 24             Q      By the way, I saw Mr. Bursey in the hallway.           He

 25      looks good.     Is there -- what reason is he here today?

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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


 UNIVERSITAS EDUCATION, LLC

                               Plaintiff,         CASE NO. 3:20-cv-00738-JAM
 v.

 BENISTAR, ET AL.

                               Defendants.


                       DECLARATION OF BENJAMIN CHERNOW

I, Benjamin Chernow, make this Declaration pursuant to 28 U.S.C. § 1746 and state as follows

under oath:

       1.      I am over eighteen years of age and believe in the obligation of an oath.

       2.      I am an associate in the Law Offices of Joseph L. Manson III, counsel for Plaintiff

Universitas Education, LLC (“Universitas”).

       3.      I submit this affidavit in support of Universitas’ Motion to Compel Discovery from

Grist Mill Partners, LLC (“GMP”).

       4.      I make this affidavit based on personal knowledge, which is the result of

information and inferences gleaned from the documents discussed in this affidavit.

       5.      I have reviewed the discovery produced by GMP in this proceeding. Among this

discovery is a cash disbursement journal spanning from January 1, 2009 to August 18, 2021.

       6.      I have reviewed the cash disbursement journal produced by GMP. The document

is ninety (90) pages in length. The cash disbursement journal does not include any entry depicting

payment to Benistar Admin. Services, Inc.
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           7.   Universitas will produce the cash disbursement journal in its entirety upon request

from the Court.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct.

Dated: October 15, 2021
      Alexandria, VA




                                              /s/ Benjamin Chernow                         /
                                              Benjamin Chernow




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                        Joseph Castagno                                                         Daniel Patrick Moynihan
                         10 Tower Lane                                                           Hon. Judge Laura T. Swain
                           Suite 100                                                             United States Courthouse
                       AVON, CT US 06001                                                              500 Pearl Street
                         860 408-7000                                                            NEW YORK, NY US 10007
                                                                                                       212 805-0424



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       EXHIBIT
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From:            Dan Carpenter US
To:              Joe
Cc:              Joe Castagno
Subject:         Re: Judge Underhill Letter Motion Parts One and Two
Date:            Wednesday, June 23, 2021 7:02:39 AM



Joe:

Let me know how you are doing with letter....Can you put separate list of Exhibits together???

Thanks

Dan


From: Joe <jmcastagno@yahoo.com>
Sent: Tuesday, June 22, 2021 6:25 PM
To: Dan Carpenter US <dcarpenter@usbgi.com>
Cc: Joe Castagno <jmcastagno@protonmail.com>; Grayson Holmes <gholmes@odglaw.com>
Subject: Re: Judge Underhill Letter Motion Parts One and Two

Hey Dan. I’ll work on this and get it back to you tonight. Just got home and gonna have dinner
then start!


       On Jun 22, 2021, at 4:01 PM, Dan Carpenter US <dcarpenter@usbgi.com> wrote:


       ﻿
       Joe:

       Very frightening working with Otter…..thought I lost it several
       times….but please see if you can space out for Colt and get the
       Exhibits in order….

       I will discuss with Colt tomorrow….

       Thanks for your help on this….let me know you can “proof” and
       edit….

       Dicted over by Otter Dictation

       From: Dan Carpenter US
       Sent: Tuesday, June 22, 2021 4:59 PM
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To: Dan Carpenter US <dcarpenter@usbgi.com>
Cc: Joe Castagno <jmcastagno@protonmail.com>; Joe <jmcastagno@yahoo.com>;
Grayson Holmes <gholmes@odglaw.com>
Subject: Judge Underhill Letter Motion Parts One and Two


Currently pending before Magistrate Spector is a discovery request
for bank records for GMP going back to 2009 period. Apparently
magistrate Spector did not review the objection filed by petitioner,
with Judge Meyer, which is attached here as Exhibit one period.
Similarly, comma, magistrate specter seems to be unaware that
Universitas subpoena TD Bank in 2010, and actually sued TD Bank in
2015, allegedly, on behalf of the charter of trust. Period. Judge
Scheindlin wrote a very clear and straightforward opinion, in 2015,
stating that the money was gone by October of 2009, comma, so
that any claim by Universal attacks against anyone after October,
2012 was barred by the statute of limitations. See judge shine Linds
2015 decision attached as Exhibit two period. Similarly, when
Universitas brought this very same action in the sdny, comma, Judge
Swain, suggested that the court did not have jurisdiction over the
action, pursuant to peacock V Thomas. Period. see judge swains
March 2020 Order attached as Exhibit three period. In order to
circumvent judge Swain, comma, counsel for Universitas brought this
current in quotation marks, alter dash ego. Alter Ego actually
ignoring the fact, the judge Swain stated enter January 5 comma
2015 decision that alter ego claims could not be brought in the
Second Circuit citing a state of Unger VRS calm. Period. Significantly,
this is the decision. The judge Meyer relied upon in dismissing the
claims against all of the defendants, except gristmill partners as
barred by the doctrine of res judicata period. More to the point
comma Universitas argued to judge Thompson, 10 years ago that
they should not be forced to defend themselves. In Connecticut, as
that would be too expensive. Period. See attached as Exhibit four an
excerpt filed with Judge Thompson in 2011 explaining that
Universitas was a fraudulent charity run by sash Spencer's mistress,
dash, which explains why Spencer's widow, comma, Mary Spencer,
comma, had no idea that there was $30 million of insurance on her
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husband, period. We have since come to learn that not only were
the fraudulent applications, filled out by Spencer's agent Bruce Mac
this dash. The change of beneficiary forms were all forged by MAC
the said his office, the fraudulent actions by MAC this and universe
attacks are not necessary for the relief requested in this filing period.
New paragraph. A big part of the May 2014 superseding indictment
do deals with Petitioner allegedly changing the charter road trust
document, comma, and several press releases by the government,
suggesting that the petitioner change the charter of trust document
to retain 20% for the charter of trust, period. See for example press
release from blank blank attached as Exhibit five, and the press
release after sentencing attached as Exhibit six period. But we know
that this is absolutely not the case and Sharon Siebert comma
ensuing Jack Robinson's a state. In September, 2019 stated that they
knew the charter of trust was amended in January 2007, comma, but
she felt that since that Spencer's insurance policy was applied for in
2006, in parentheses, 15 years ago, and parentheses, that they
would be exempt from the 20% hold back, period. Once again,
comma, however, comma, for the purpose of this motion dash that
is not the point, period. The point is that Miss Siebert specifically
references section, 6.01, which is the paragraph that the
government allege Petitioner changed in 2000, in June of 2008. After
learning of Mr Spencer's death. See the Sharon seabird affidavit of
September 2019 attached as Exhibit seven new paragraph. It is
because of these lies by the government. And in consistencies in the
universe a tough story that Petitioner brought several motions in
front of Judge chatni to receive the grand jury transcripts comma.
The jencks act 3500 material comma and the notes of the agents,
period. Obviously, the Brady comma GenX comma Giglio comma
Bagley, comma, and that pool errors in this case will mandate
vacating petitioners conviction, as well as the blatant Fourth
Amendment violations, comma, but once again, that is not the point
of this motion. Period. Petitioner doubts the judge shot and he will
prosecute a USA NAWIC for perjury and other crimes, dash, or
submit his name to the Office of Professional Responsibility in
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parentheses OPR for review. As Judge Nathan did, and USB me jab.
We're only one government exhibit was in dispute comma but
Petitioner simply wanted access to the grand jury transcripts to
discover who told the grand jury. The lie that Petitioner changed the
charter of trust document sections 6.01 to keep the 20%?


Memo Part Two


New Page. Obviously, the astute reader will come to the conclusion
that if Petitioner really controlled everything, and had fraudulent
intent in 2008, dash, why change the document at all. If you are
planning to steal in quotation marks, steal in quotation marks, the
whole $30 million. dollars. Question mark. The mythical 2018
amendment never happened, comma, but instead a USA Novick,
strung together unlawfully seized emails from the Grist Mill Road
computers to make his case against the medicine man, comma, and
we all know what Justice Brandeis had to say about that and his
famous quote, concerning the interaction between the Fourth
Amendment and the Fifth Amendment and the right to be let alone,
period. The fourth and fifth amendment violations in this case are
unprecedented. And should lead to a USA Novick being disbarred,
which is why petitioners case should be transferred to this court
from Judge chatni to be combined with the two search warrant
cases, period. But the Universitas charging order case is also in front
of Judge chatni period after the clerk's judgment of August 2014,
comma, Universitas brought actions and Oklahoma against Avon
capital comma, LLC, and got a charging order against carpenter
Financial Group, Inc. in Connecticut, which owns 99% of grist mill
partners, which owns the property at 100 Grist Mill Road, period.
Judge chatni granted that charging order in October of 2015 comma
and Universitas sat on its rights because judge Swain, explain that in
less gristmill partners, comma, clearly a non judgment debtor,
comma, distributed money to cfg, comma, there would be no means
to attach those proceeds. Period. Judge Swain made that decision in
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2014, in parentheses, seven years ago. And perenne when local law
firms Halloran ampersand sage and Robinson, ampersand Cole
worked together to get a lease for curaleaf, capital C, you are a
capital L, EA F curaleaf at 100 Grist Mill Road, period. Once again,
comma, the purpose of this motion is to consolidate the 2015
charging order case that is in front of Judge chatni and the alter ego
claims against grist mill partners, that is currently in front of Judge
Meyer. With this court, as well as petitioners criminal action, since
there is no doubt. Both raids violated the Fourth Amendment, which
means petitioners conviction must be vacated and a USA novick's
name, referred to the Office of Professional Responsibility.

Period. Not only would this preserve scarce traditional resources in
this difficult time of the COVID pandemic, comma, it would finally
provide some measure of justice for petitioners family, and the
wrongfully maligned. Family and friends of petitioner, because of the
clearly illegal actions of a USA Novack very new paragraph. In that
regard, comma, a USA Novick has done everything possible to block
petitioners access to his grand jury minutes, period. After playing
games for several months, comma. The government submitted a
copy of emails, stating that they had provided all of the grand jury
minutes to petitioners attorneys, period. See exhibit a period.
Unfortunately, comma, Petitioner was being detained at the Wyatt
Detention Center for his trial, and never saw any of these documents
period. But as the Brady dash Jenks violations. In this case were not
enough, comma, a USA Novick, ordered attorney Richard Brown, not
to release any of the documents to petitioner, period. See letter
from attorney Richard Brown attached as Exhibit nine. Period. New
paragraph Petitioner came off home confinement. On May, 7 2021.
And the very next week, visited attorney Brown's office to discover
who told the lie that petitioner, had altered the charter rope trust
documents to steal the sash Spencer proceeds from the fraudulent
charity to buy the Rhode Island beach house. Period. New
paragraph. But what immediately jumped out of the grand jury
transcripts to petitioner, was that agent, Lynn Allen testified before
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the grand jury, under oath, that she had interviewed sash Spencer's
right hand man, comma, Patrick donahey, de ONAGHY, and he
stated that Spencer only took out the policies, because he was going
to sell them for a couple of million dollars profit to someone else,
period. Petitioner actually testified to that same story in front of
Judge Swain, that petitioner, comma, Wayne bearsy calm and Jack
Robinson had discovered that Spencer's broker. Bruce Mac this had
made a deal with Don Trudeau, to sell the Spencer policies for $1.8
million. Period. Judge Swain stated in several of her opinions, dated
in 2013 and 2014 that she found petitioners testimony on this
subject. Concerning the potential sale of the Spencer policies to Don
Trudeau for 1,800,000 to be totally incredible period. Now agent
Lynn Allen. And Patrick Donahoe he's FBI 302 report back Petitioner
story up

period. New paragraph. Why was that the petitioner could not show
judge Swain the documentation that showed the charter of trust
owed over $60 million to grist mill capital. At the time that Wayne
Bersih paid the money from the charter of trust the grist mill capital
in 2009, which is the basis for Judge swains fraudulent conveyance
rulings in 2014, period. New paragraph. The simple answer is that
the IRS unlawfully stole gristmill capital's property in April of 2010,
and an on lawful search and seizure, comma, and then a USA Novick,
arranged to seize those very same boxes as part of the unlawful raid
on 100 Grist Mill Road in May 26 2011 period. At no time did
Petitioner know of a USA novick's Secret subpoena, because he
asked the law firm. How are an ampersand sage, not to tell anyone
about the subpoena, because an investigation was ongoing period.
Needless to say, this was exactly the same conduct that Justice
Holmes criticized in deplored in the landmark case of Silverthorne
lumber period attached as exhibit 10 Is Wayne bursaries affidavit,
supporting his emergency motion for the return of Charter Oak trust
and gristmills capital's property and boxes, period, as this Court
realizes, comma, those are the very same boxes that are still at the
center of the rule 41 G dispute in this court, period. They have yet to
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be returned camo, years after Mr Bersih is filing in front of Judge
Cavallo. In 2010, period. Wayne Bersih died in March of 2015 and
Jack Robinson died in 2017, dash, so only Petitioner capital P is left
to fight against the IRS and do well for these for the return of the
property, illegally seized. Very well, Mr Bersih, talks about the loss of
a $2 billion deal with a German pension plan, comma, please pay
special attention to Mr Bearss less thing in the boxes that he wants
return. See exhibit nine or 10 paragraph. So Joe, whichever the
exhibit number is now, and the paragraph. Wayne mercies. I think
it's exhibit 10 Wayne Mercy's affidavit in support of the emergency
motion. Period. New paragraph. This list of boxes, is the exact same
list of boxes that a USA Novick seized with his secret subpoena,
which Petitioner never saw, and which is attached as exhibit 11
Needless to say these boxes are the missing boxes at the center of
the current dispute with the IRS and do well on this court. See for
example, docket number, and us are in carpenter V kind of spinning
and Carpenter, V showman and carpenter VL. Period. More to the
point comma. While Universitas is telling magistrate Specter, they
need more banking information

in 2021 comma. They subpoenaed bank records from TD Bank in
2010, and from JP Morgan in 2013. They received by boxes of
information from both TD Bank and JP Morgan Chase, with a listing
of all accounts and balances. Additionally, Universitas worked with a
USA Novick, to deny petitioners bail. In January, 2014, suggesting
that they had ownership of all of Mr carpenters properties, including
his wife's home, comma, until magistrate Martinez told a USA
Novick, to sit down, period. Now Universitas is back in 2021, telling
the big lie in quotation marks, capital B, big capital L lie in quotation
marks to try and seize petitioners daughter's house in a new motion
in front of Judge Meyer, period. The claims by Universitas are not
just untimely comma, they're absolutely false. This is one big fraud
on the court that was created by Universitas in conjunction with a
USA Novack period. Not only should gristmill capital's property be
returned immediately, comma, this Court should order the release of
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petitioner, Grand Jury transcripts. So that Petitioner can send a
detailed report to judge Swain, that Petitioner was telling the truth,
the entire time, dash, as well as filing a rule 60 B five, that the claims
against all of the judgment debtors. Were not just unfounded. But
the debt has been paid. As Universitas has received a massive unjust
enrichment of over $22 million of over $22 million. Period.
Furthermore, comma, the simple answer to the question is why does
petitioner and gristmill partner does not have access to any of their
banking records, is because the government of the IRS, comma, the
DLL and a USA Novick, are still illegally holding on to the same boxes
that were seized in the unlawful raid of April, 20 2010 period. Next
paragraph. Therefore, comma, in the interest of justice comma
Petitioner respectfully ask that Your Honor have a heart dash to that
heart talk with both judge chatni and judge Meyer. To have all cases
involving petitioner or 100 gristmill road be transferred to this court,
Dash, or at the very least, that have the charging order, capital C,
capital O, have the charging order in front of Judge chatni
transferred to judge Meyer, so that all of these untimely claims can
be summarily dealt with period Petitioner would also request that
this court order. Petitioners Grand Jury transcripts to be released to
petitioner, and that this Court order the immediate release of all
property of grist mill, partners, and grist mill capital that is already
being demanded by petitioners rule 41 G. Come along with any
other remedies. This court deems proper. In the interest of justice.
Joe, do the classic. Respectfully submitted. Daniel Lee carpenter
Petitioner pro se. Thank you and have notes.

You

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       EXHIBIT
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From:            Joe Castagno
To:              Dan Carpenter US
Subject:         FW: New Litigation
Date:            Wednesday, July 29, 2020 5:22:14 PM
Attachments:     Complaint DConn.PDF




Joseph Castagno
Benistar Admin Services, Inc.
10 Tower Lane, Suite 100
Avon, CT 06001
860-408-7000 ext. 5259

From: Molly Carpenter
Sent: Tuesday, June 2, 2020 10:45 AM
To: Joe Castagno <JCastagno@benistar.com>
Subject: FW: New Litigation

Do you mind printing for me? I haven’t told Dan yet….figure I will wait until he is home.

From: LaBelle, Dan E. [mailto:LABELLE@halloransage.com]
Sent: Monday, June 1, 2020 11:19 AM
To: Molly Carpenter <mcarpenter@benistar.com>; Don Trudeau <dtrudeau@benistar.com>
Cc: McGrath Jr., William J. <McGrath@halloransage.com>; Scapellati, Daniel P.
<scapellati@halloransage.com>
Subject: New Litigation

Molly and Don, sorry to be the bearer of bad news, but Manson/Universitas has filed a new
complaint in the District of Connecticut. The complaint names you both as individual defendants
and several organizational defendants, including BASI. Because the action is filed in federal court,
the action is commenced by filing the complaint with the court. In the federal system, service of the
summons and complaint is made after filing so you may get a visit from a process server in the days
ahead. If Manson elects to use it and we agree, there is also a process which allows for acceptance
of service by mail. Let us know if you are served with process or if you receive a mailing requesting
your agreement to service by mail.

I have done a once through reading of the complaint. It is very sloppy, but it purports to state claims
for alter ego liability and constructive trust.

Bill McGrath, Dan Scapellati and I will have a call tomorrow to discuss the complaint and first steps.
(Dan Scapellati is not available today.) Read through the complaint and collect your comments and
questions. We will set up a call later this week to discuss this development.
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